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                                                CLERK’S MINUTES
                                    IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                         Before the Honorable Kirtan Khalsa, United States Magistrate Judge
                                                Bail/Bond Review Hearing
Case Number:            21mj170 KK                             UNITED STATES vs. Cisneros
Hearing Date:           2/16/2021                              Time In and Out:             2:40-2:48
Courtroom Deputy:       E. Hernandez                           Courtroom:                   ABQ Zoom
Defendant:              Joe D. Cisneros                        Defendant’s Counsel:         Joe Romero, Jr.
AUSA:                   Rumaldo Armijo                         Pretrial/Probation:              A. Carter
Interpreter:            N/A                                    Witness:
Proceedings
Court calls case; counsel enter their appearances; court addresses counsel; defense counsel responds, does not have anything
new to add, does not object to pretrial services recommendation; court addresses pretrial services officer; pretrial services
officer responds; court grants placement at PACE Residential Treatment Program through the Veterans Affairs; government
responds, requests court order defendant comply with conditions of the program in addition to all other imposed conditions;
court in recess.




Custody Status
☐ Defendant
☒ Conditions of release imposed
Other Ruling
☐
